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 Kevin H. Marino (KHM 4941)                          Michael L. Rugen (MLR 2757)
 KEVIN H. MARINO, P.C.                               Holly K. Kulka (HKK 9712)
 One Newark Center, Suite 1600                       HELLER EHRMAN WHITE
 Newark, New Jersey 07102-5211                        & McAULIFFE LLP
 (973) 824-9300                                      120 West 45th Street
                                                     New York, NY 10036
                                                     (212) 832-8300
 Attorneys for Defendant Ernst & Young LLP


 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY



 DANIEL MCCABE, RUSSELL E. MCCABE,
 and DAVID MOTOVIDLAK,
                                                     Hon. William H. Walls
                                   Plaintiffs,
                                                     Case No. 01-CIV-5747 (WHW)
                    -against-

 ERNST & YOUNG, LLP, NICHOLAS R. H.                  NOTICE OF DEFENDANT ERNST &
 TOMS a/k/a NIC TOMS, HUGO BIERMANN,                 YOUNG LLP'S MOTION FOR
 GREGORY THOMAS, EDWARDSTONE &                       SUMMARY JUDGMENT ON THE
 COMPANY, INC., WAYNE CLEVINGER,                     SECOND AND FIFTH COUNTS OF
 JOSEPH ROBINSON, MIDMARK CAPITAL,                   THE AMENDED COMPLAINT
 LP, OTTO LEISTNER, BUNTER B.V.I., LTD.,
 GEORGE POWCH, STEPHEN M. DUFF, THE
 CLARK ESTATES, INC., RAYMOND BROEK,                 Return Date:    May 24, 2004
 DONALD ROWLEY, DOUGLAS L. DAVIS,                                    9:00 a.m.
 BARBARA H. MARTORANO and JACQUI
 GERRARD,

                                   Defendants.       Document electronically filed


 TO:   Clerk of the Court
       All Counsel of Record


       PLEASE TAKE NOTICE that, upon Defendant Ernst & Young LLP's Memorandum of

 Law in Support of Its Motion for Summary Judgment, Defendant Ernst & Young LLP, by its




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 undersigned attorneys, will move this Court before the Honorable William H. Walls on May 24,

 2004 at 9:00 a.m., or as soon thereafter as counsel may be heard, at the United States

 Courthouse, 50 Walnut Street, Newark, New Jersey, for an Order pursuant to Rule 56 of the

 Federal Rules of Civil Procedure granting summary judgment on the ground that there is no

 genuine issue of fact and that Ernst & Young LLP is entitled to judgment as a matter of law

 dismissing the Second and Fifth Counts of Plaintiffs’ Amended Complaint with prejudice and

 granting such further relief as this Court may deem just and proper.



                                                           By:           /s Holly Kulka
                                                                  Holly K. Kulka (HKK 9712)
                                                                  HELLER EHRMAN WHITE
                                                                   & McAULIFFE LLP
                                                                  120 West 45th Street
                                                                  New York, NY 10036
                                                                  (212) 832-8300

                                                                  Kevin H. Marino (KHM 4941)
                                                                  KEVIN H. MARINO, P.C.
                                                                  One Newark Center, Suite 1600
                                                                  Newark, New Jersey 07102-5211
                                                                  (973) 824-9300




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